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 9

10                               UNITED STATES DISTRICT COURT
11
                                EASTERN DISTRICT OF CALIFORNIA

12
     MICHAEL JAMES PRATT,             )              Case No. 2:23-cv-02361-AC
13                                    )
              Plaintiff,              )              STIPULATION TO VOLUNTARY
14                                    )              REMAND PURSUANT TO SENTENCE
         vs.                          )              FOUR OF 42 U.S.C. § 405(g);
15                                                   [PROPOSED] ORDER
                                      )
16   COMMISSIONER OF SOCIAL SECURITY, )
                                      )
17            Defendant.              )
                                      )
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                                      )
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     Stipulation; [Proposed] Order
     2:23-cv-02361-AC
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 1          IT IS HEREBY STIPULATED, by and between the parties, through their respective
 2   counsel of record, with the approval of the Court, that this action be remanded for further
 3   administrative proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
 4          On remand, the Appeals Council will direct that the case be assigned to a different
 5   administrative law judge (ALJ). See Hearings, Appeals and Litigation Law (HALLEX) I-2-1-
 6   55D.2. On remand, the ALJ will further consider all relevant medical and non-medical evidence,
 7   take further action to complete the administrative record, as necessary, and issue a new decision.
 8          The parties further request that the Clerk of the Court be directed to enter a final judgment
 9   in favor of Plaintiff, and against Defendant, reversing the final decision of the Commissioner.
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                                           Respectfully submitted,
11
     Dated: February 26, 2024              LAW OFFICES OF FRANCESCO BENAVIDES
12
                                       By: /s/ Francesco Benavides*
13
                                           FRANCESCO BENAVIDES
14                                         Attorneys for Plaintiff
                                           [*As authorized by e-mail on Feb. 26, 2024]
15

16
     Dated: February 27, 2024              PHILLIP A. TALBERT
17                                         United States Attorney

18                                     By: /s/ Margaret Branick-Abilla         ___
                                          MARGARET BRANICK-ABILLA
19
                                          Special Assistant United States Attorney
20                                        Attorneys for Defendant

21
                                      [PROPOSED] ORDER
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23
     Pursuant to stipulation, IT IS SO ORDERED.
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25   Dated: February 27, 2024
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     Stipulation; [Proposed] Order
     2:23-cv-02361-AC
                                                      2
